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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

MARIA M. KIAKOMBUA, et al.,                        :
                                                   :
       Plaintiffs,                                 :       Civil Action No.:       19-1872 (KBJ)
                                                   :
       v.                                          :       Re Document No.:        99
                                                   :
ALEJANDRO MAYORKAS, et al.,                        :
                                                   :
       Defendants.                                 :

                                              ORDER

                     REFERRING CASE TO MAGISTRATE JUDGE FOR MEDIATION

       It is hereby ORDERED that the above-captioned case is randomly referred to a United

States Magistrate Judge for the purpose of mediation.

       It is further ORDERED that all litigation deadlines in this case are stayed.

       It is further ORDERED that the parties shall file a Joint Status Report on or before

December 20, 2021, advising of the status of the parties’ settlement efforts and proposing further

proceedings, unless the case is dismissed before then.

       The parties are to contact the assigned United States Magistrate Judge jointly to schedule

the mediation. Counsel and parties, including persons with settlement authority, are to

participate in the mediation. If the case settles in whole or in part, counsel shall advise the Court

of the settlement promptly by filing a stipulation. All filings in this case pertaining to this

mediation shall include the initials of the assigned United States Magistrate Judge in the caption

next to the initials of the undersigned judge. See D.D.C. Civ. R. 5.1(d).

       SO ORDERED.


Dated: 10/21/2021                                                    RUDOLPH CONTRERAS
                                                                     United States District Judge
